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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------X
                                                              :
 LESHAWN DAWSON, on behalf of himself and :
 all others similarly situated,                               :    20 Civ. 6739 (LGS)
                                            Plaintiff         :
                                                              :          ORDER
                            -against-                         :
                                                              :
 THE COCA-COLA COMPANY,                                       :
                                            Defendant.        :
 -------------------------------------------------------------X

LORNA G. SCHOFIELD, District Judge:

        WHEREAS, the initial pretrial conference in this matter is scheduled for October 22,

2020, at 10:30 a.m.

        WHEREAS, no significant issues were raised in the parties’ joint letter or proposed case

management plan. It is hereby

        ORDERED that the October 22, 2020, initial pretrial conference is cancelled. If the

parties believe that a conference would nevertheless be useful, they should inform the court

immediately so the conference can be reinstated. The case management plan and scheduling

order will issue in a separate order. The parties’ attention is particularly directed to the provisions

for periodic status letters, and the need for a pre-motion letter to avoid cancellation of the final

conference and setting of a trial date. It is further

        ORDERED that if Defendant seeks to file a motion to dismiss, it shall file a pre-motion

letter pursuant to Individual Rules III.A.1 and III.C.2.

        Per the parties’ request, a referral to the District’s mediation program will issue in a
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separate order.

       The parties should be aware that the Court does not extend the deadlines for fact and

expert discovery absent compelling circumstances.

Dated: October 20, 2020
       New York, New York




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